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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                   Crim. No.: 18-278(1)(DSD/KMM)


United States of America,


                       Plaintiff,
v.                                                ORDER

Robert Anthony Coleman,

                       Defendant.



     This matter is before the court upon the motion of defendant

Robert Anthony Coleman to amend sentencing judgment to extend the

date of his voluntary surrender.      The government does not object

to the motion.   Based on the file, record, and proceedings herein,

IT IS HEREBY ORDERED that:

     1.   The motion [ECF No. 116] is granted;

     2.   The court’s sentencing judgment [ECF No. 115] is amended

as follows:   Defendant Robert Coleman shall self-surrender to the

Bureau of Prisons on October 19, 2020; and

     3.   All other portions of the sentencing judgment shall

remain in full force and effect.



Dated: July 13, 2020                  /s David S. Doty___________
                                      David S. Doty, Judge
                                      United States District Court
